                               UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

IRA D. SOCOL,                          )
                                       )
               Plaintiff               )
                                       )       Case No.: 3:18cv00090
v.                                     )
                                       )
ALBEMARLE COUNTY                       )
SCHOOL BOARD, et al.                   )
                                       )
               Defendants.             )

                              ANSWER OF MATTHEW S. HAAS

       Defendant Matthew S. Haas, by counsel, submits the following answer and defenses to

the plaintiff’s First Amended Complaint.

                                           FIRST DEFENSE

       Counts I and III have been dismissed against this Defendant by prior order of this Court.

Accordingly, no response is required to those Counts.

                                       SECOND DEFENSE

       Defendant denies that he breached any duty or obligation to the plaintiff or otherwise

committed any intentional torts against plaintiff.

                                           THIRD DEFENSE

        Defendant denies that he caused any injury to the plaintiff or that the plaintiff was

injured in the nature and to the extent alleged in the Complaint.

                                       FOURTH DEFENSE

       Defendant denies that he is indebted to the plaintiff under any theory of law and denies

that the plaintiff is entitled to any of the relief or damages claimed or sought in this case.




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                                       FIFTH DEFENSE

       Defendant denies that he violated any of the plaintiff’s rights under federal statutory or

state common law.

                                       SIXTH DEFENSE

       Defendant is entitled to qualified immunity.

                                     SEVENTH DEFENSE

       Defendant reserves the right to rely upon any and all affirmative defenses which may

become known throughout discovery or through evidence presented at trial.

                                      EIGHTH DEFENSE

       Without waiving the foregoing Defenses, and expressly relying on the same, the

defendant states as follows:

       1.      The Introduction paragraph does not require a response from this defendant.

       2.      Defendant admits the allegations contained in paragraph 2.

       3.      Paragraph 3 contains conclusions of law to which no response is required.

       4.      Defendant admits the allegations contained in paragraph 4.

       5.      Paragraphs 5-6 of the First Amended Complaint contain conclusions of law that

do not require a response from this defendant.

       6.      Paragraphs 7-9 contain conclusions of law to which no response is required.

       7.      Upon information and belief, defendant admits the allegations contained in

paragraphs 10-11.

       8.      With respect to the allegations contained in paragraph 12, defendant admits that

he and Ms. Collins interviewed the plaintiff for an open position in DART and that he was




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subsequently hired for that position. Defendant denies the remaining allegations contained in

paragraph 12.

       9.       Defendant denies the allegations contained in paragraphs 13-19.

       10.      With respect to the allegations contained in paragraph 20, defendant admits that

plaintiff was named as CTIO in April of 2018. Defendant denies the remaining allegations

contained in paragraph 20.

       11.      Defendant denies the allegation contained in paragraph 21.

       12.      With respect to the allegations contained in paragraphs 22-23, defendant admits

that this statement and these ratings are contained in a revised version of the plaintiff’s

performance review. The original review contained negative comments, which were removed

from the final report after the plaintiff met with the defendant and agreed to make changes in his

behavior as requested.

       13.      Defendant denies the allegations contained in paragraph 24.

       14.      This defendant lacks sufficient information to admit or deny the allegations

contained in paragraphs 25-26.

       15.      Defendant admits the allegations contained in paragraph 27.

       16.      Defendant denies the allegations contained in paragraphs 28-29.

       17.      With respect to the allegations contained in paragraph 30, defendant admits that

around that time, plans were announced for a pilot high school center to open in August of 2018.

Defendant denies the remaining allegations contained in paragraph 30.

       18.      With respect to the allegations contained in paragraph 31, defendant admits only

that he discussed the creation of a charter and a steering committee to move the pilot high school

project forward. Defendant denies the remaining allegations contained in paragraph 31.



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       19.     With respect to the allegations contained in paragraph 32, defendant admits only

that he received an email from the plaintiff with the plaintiff’s thoughts on the pilot high school

center and steering committee staffing. As to the exact language of the document, the document

will speak for itself. The remaining allegations contained in paragraph 32 are denied.

       20.     Defendant admits the allegations contained in paragraph 33.

       21.     With respect to the allegations contained in paragraph 34, defendant admits only

that the pilot high school center would contain space for LEAD, a professional learning center

with meeting space and a model classroom, and a technical high school setting. Defendant

denies the remaining allegations contained in paragraph 34.

       22.     Defendant admits the allegations contained in paragraphs 35-36.

       23.     Defendant denies the allegations contained in paragraph 37.

       24.     Defendant lacks sufficient information to admit or deny the allegations contained

in paragraph 38.

       25.     With respect to the allegations contained in paragraph 39, Defendant admits that

the Steering Committee proposed hiring Ms. Greenhalgh to assist with the purchase of furniture

for the pilot high school center and that the plaintiff objected to hiring her based on a

misunderstanding of Building Services’ capacity. Defendant denies the remaining allegations

contained in paragraph 39.

       26.     Defendant lacks sufficient information to admit or deny the allegations contained

in paragraph 40.

       27.     With respect to the allegations contained in paragraph 41, defendant admits that

Ms. Wolfe prepared proposals at the request of the plaintiff and that her proposal was presented




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to the Steering Committee. Defendant denies the remaining allegations contained in paragraph

41.

       28.     With respect to the allegations contained in paragraph 42, defendant admits only

that Ms. Wolfe presented recommendations to the Steering Committee from commercial

websites that were not under an approved contract with the School Board, that Ms. Snoddy was

going to select carpet, and that Ms. Wolfe’s recommendations were placed on a spreadsheet.

Defendant denies the remaining allegations contained in paragraph 42.

       29.     With respect to the allegations contained in paragraph 43, the defendant admits

only that Ms. Wolfe’s recommendations were identified on a spreadsheet that noted in which

section of the pilot high school center the items would be used and the purchase information.

Defendant denies the remaining allegations contained in paragraph 43.

       30.     Defendant denies the allegations contained in paragraph 44.

       31.     Defendant admits the allegations contained in paragraph 45.

       32.     With respect to the allegations contained in paragraph 46, defendant admits only

that the total purchases exceeded $50,000. Defendant denies the remaining allegations contained

in paragraph 46, including that the pilot high school center was broken down into different

projects.

       33.     With respect to the allegations contained in paragraph 47, defendant admits that

no one item of furniture exceeded $5,000 but denies the remaining allegations contained in

paragraph 47, including the implication that furniture purchases could permissibly be made

piecemeal so long as no one item exceeded $5,000.

       34.     Defendant denies the allegations contained in paragraph 48.




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       35.     With respect to the allegations contained in paragraph 49, Defendant lacks

sufficient information to admit or deny what communications the plaintiff had with others but

denies that the plaintiff informed him of his purchasing plan for furniture at any time prior to

making such purchases. Defendant denies the remaining allegations contained in paragraph 49.

       36.     With respect to the allegations contained in paragraph 50, defendant admits that

the impermissible nature of the plaintiff’s purchases caught the attention of Mr. Winder, who

addressed his concerns about the violations with the plaintiff. Defendant denies the remaining

allegations contained in paragraph 50.

       37.     Defendant lacks sufficient information to admit or deny the allegations contained

in paragraph 51.

       38.     With respect to the allegations contained in paragraph 52, defendant admits that

the School Board’s purchasing procedures, purchasing manual, and training opportunities were

discussed at a cabinet meeting in June of 2018. Defendant denies the remaining allegations

contained in paragraph 52.

       39.     With respect to the allegations contained in paragraphs 53-55, defendant lacks

sufficient information to admit or deny such allegations as he was not a party to any such

meeting, but defendant admits that he was subsequently informed that the plaintiff met with an

Assistant County Attorney, who informed the plaintiff that his purchases violated County policy

and the Virginia Public Procurement Act, and that Mr. Winder informed the plaintiff that if the

Board did not vote to ratify the purchases that the plaintiff would be personally responsible for

paying for them as they were made in violation of School Board policy.

       40.     With respect to the allegations contained in paragraph 56, the defendant admits

only that he was not fully aware of the extent of the plaintiff’s policy violations at the time the



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Board met to decide whether to ratify the plaintiff’s purchases. Defendant denies the remaining

allegations contained in paragraph 56.

        41.     With respect to the allegations contained in paragraph 57, defendant admits only

that the School Board took two votes to ratify the plaintiff’s purchases and that after the second

vote the Board ratified the purchases.

        42.     Defendant denies the allegations contained in paragraph 58.

        43.     Defendant admits that allegations contained in paragraph 59 with respect to the

Board members’ positions are true, denies that he was the one to share that information with the

plaintiff, and further states that the complete email will speak for itself.

        44.     With respect to the allegations contained in paragraph 60, defendant admits that

Mr. Gray and Dr. Keiser met with Mr. Socol to investigate the School Board’s concerns that the

plaintiff violated policy and the Virginia Public Procurement Act and that the plaintiff, who had

avoided meeting with them for weeks, was aware of the nature of the meeting. Defendant denies

the remaining allegations contained in paragraph 60.

        45.     Defendant denies the allegations contained in paragraph 61.

        46.     With respect to the allegations contained in paragraph 62, defendant admits that

the School Board used the furniture purchased by the plaintiff. Defendant denies the remaining

allegations contained in paragraph 62.

        47.     Defendant denies the allegations contained in paragraphs 63-64.

        48.     With respect to the allegations contained in paragraph 65, defendant states that the

text messages speak for themselves and denies all allegations inconsistent with those documents.

        49.     With respect to the allegations contained in paragraph 66, defendant admits that

he held a meeting with Mr. Socol, Dr. Keiser, and Mr. Downs, that he advised Mr. Socol that he



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was being terminated, that Mr. Socol had no grievance rights as a non-licensed administrator,

that the School Board was willing to permit the plaintiff to resign in lieu of termination, and that

his separation agreement would include a standard confidentiality provision, which was designed

to protect the plaintiff’s privacy. Defendant denies the remaining allegations contained in

paragraph 66.

       50.      Defendant denies the allegations contained in paragraph 67.

       51.      With respect to the allegations contained in paragraph 68, Defendant admits that

Mr. Socol did not admit to any misconduct during the July 27, 2018, meeting but states that Mr.

Socol did admit to purchasing policy violations to him by email and in his meeting with Mr.

Gray and Dr. Keiser during their investigation prior to the plaintiff’s termination.

       52.      Defendant admits the allegations contained in paragraph 69 and states that his

termination was dated after 9:00 AM on August 1 as a courtesy to plaintiff to enable the plaintiff

to obtain all possible benefits to which he would be entitled under the School Board’s

compensation plan.

       53.      Defendant denies the allegations contained in paragraph 70.

       54.      With respect to the allegations contained in paragraphs 71-72, Defendant states

that the School Board’s policies speak for themselves and no response is required.

       55.      Defendant denies the allegations contained in paragraph 73.

       56.      Defendant admits the allegations contained in paragraphs 74-75.

       57.      Defendant denies the allegations contained in paragraphs 76-81.

       58.      Defendant admits the allegations contained in paragraph 82.

       59.      Defendant denies the allegations contained in paragraphs 83-89.

       60.      Defendant admits the allegations contained in paragraphs 90-91.



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       61.     Defendant denies the allegations contained in paragraphs 92-95.

       62.     Defendant admits that the allegations contained in paragraph 96.

       63.     Defendant denies the allegations contained in paragraphs 97-99.

       64.     Defendant admits the allegations contained in paragraphs 100-101.

       65.     Defendant denies the allegations contained in paragraphs 102-104.

       66.     Defendant lacks sufficient information to admit or deny the allegations contained

in paragraphs 105-109.

       67.     Defendant denies the allegations contained in paragraphs 110-117.

       68.     The Court has dismissed Count I; accordingly, paragraphs 118-124 require no

response from this defendant.

       69.     With respect to the allegations contained in paragraph 125, defendant incorporates

his response to paragraphs 1-124.

       70.     Defendant denies the allegations contained in paragraphs 126-131.

       71.     The Court has dismissed Count III; accordingly, paragraphs 132-135 require no

response from this defendant.

       72.     With respect to the allegations contained in paragraph 136, defendant incorporates

his response to paragraphs 1-135.

       73.     With respect to the allegations contained in paragraph 137, Defendant admits that

he discussed the plaintiff’s termination with others in the ordinary course of performing his job

requirements or after learning that Mr. Socol had first discussed his termination with that person.

       74.     Defendant denies the allegations contained in paragraphs 138-143.

       75.     Paragraph 144 requires no response from this defendant; however, this defendant

also demands trial by a jury.



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       76.     Defendant denies that the plaintiff is entitled to the relief requested in his prayer

for relief or to any relief whatsoever.

       77.     Defendant denies all allegations not expressly admitted herein.

       78.     Defendant denies that First Amended Complaint states a claim for punitive or

liquidated damages.


                                                      MATTHEW S. HAAS

                                                        /s/ Jennifer D. Royer
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of July, 2019, I have electronically filed this document
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to the following:

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Lucas I. Pangle
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